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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                        CASE NO.: 11-61317-CIV-MORENO


    ACCESS FOR THE DISABLED, INC.,
    ROBERT COHEN, and PATRICIA KENNEDY,

          Plaintiffs,

    vs.

    NALEX FOODS, INC.
    A Florida Corporation,

          Defendant.

    __________________________________/

                              NOTICE OF SETTLEMENT

          THE PARTIES, through undersigned Counsel, hereby notify the

    Court that they have reached settlement of all issues.

          The parties’ counsel are presently preparing a formal settlement

    agreement for signature by all parties and intend to file a stipulation for

    dismissal when the agreement is signed by all required to do so, which

    they anticipated will be no more than twenty days from the date hereof.


                                               /s/Douglas S. Schapiro
                                               Douglas S. Schapiro, Esq.
                                               Fla. Bar No. 54538
                                               Chepenik Trushin LLP
                                               Attorneys for Plaintiffs
                                               12550 Biscayne Blvd.
                                               Suite 904
                                               North Miami, FL 33181
                                               Tele: 305-981-8889
                                               Fax: 305-405-7979
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                         CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the above and

    foregoing has been filed electronically the Clerk of the Court using

    CM/ECF/system, this 22nd day of July, 2011 and sent by US Mail to:

    Victor Jove, as registered agent of Nalex Foods, Inc., 10020 West

    Oakland Park Blvd., Sunrise, FL 33351.

                                             /s/Douglas S. Schapiro
                                             Douglas S. Schapiro, Esq.
                                             Fla. Bar No. 54538
                                             Chepenik Trushin LLP
                                             Attorneys for Plaintiffs
                                             12550 Biscayne Blvd.
                                             Suite 904
                                             North Miami, FL 33181
                                             Tele: 305-981-8889
                                             Fax: 305-405-7979
